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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )         Court No.: 16-cr-10343-04-ADB
      v.                       )
                               )
RICHARD M. SIMON,              )
                               )
            Defendant.         )
______________________________)

                UNITED STATES’ SENTENCING MEMORANDUM
               IN AID OF SENTENCING FOR RICHARD M. SIMON

       The United States of America hereby submits this memorandum in aid of

sentencing for defendant Richard M. Simon.

   I. Introduction

       Simon’s conviction on May 2, 2019, followed the admission of stunning and

overwhelming evidence against him at trial demonstrating his role as a trusted leader in

the conspiracy. The bribes paid to prescribers in this case, “facilitated the execution of

the fraudulent scheme by incentivizing prescriptions from high-volume practitioners.”

Memorandum And Order On Defendants’ Motions For Judgment of Acquittal and For a

New Trial, ECF 1028, at 29. As evidence demonstrated at trial, Richard Simon played

an important role in executing that scheme. Simon served both as a District Manager and

as National Sales Director at Insys during the course of the conspiracy. In that capacity,

he directed his subordinates to reach and enforce quid pro quo agreements with doctors.
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Simon also practiced what he preached, personally offering bribes to Dr. Mahmood

Ahmad, a physician in Arkansas,1 and Dr. Judson Somerville, a pain specialist in Texas2

           Accordingly, the United States recommends that the Court sentence Richard Simon

to a period of incarceration of not less than eleven years (132 months).

      II. Simon’s Criminal Conduct

      A. Simon’s Leadership Role

           In August 2012, Alec Burlakoff recruited Rich Simon to become a manager at

Insys. 03/05 Tr. 152: 8. In endorsing Simon for the position, Burlakoff identified his

friend as a “born leader,” and predicted that Simon would become, “a tremendous asset

to Insys.” Ex. 1920.

           Burlakoff had good reason to know that Simon would serve the conspiracy well.

The two men were old friends, who had worked together as sales reps for Janssen

Pharmaceuticals. 03/01 Tr. 124:2-11; Ex. 1912 at INS-BOS-08744461. With

Burlakoff’s blessing, and Kapoor’s approval, the company hired Rich Simon as a

Regional Sales Manager for the Central Sales District in September, 2012. 02/13 Tr. 64:

9-65:22; Ex. 1490.

           The scheme to bribe doctors began and prospered between 2012 and 2013. 02/21

Tr. 212:24-214:4. During that time, as described in more detail below, Rich Simon

actively recruited high prescribing doctors to join the conspiracy. In May 2013, less than

a year after Simon joined the company and with the bribery scheme taking hold, Alec




1
    02/22 Trial Tr. 56: 9-19 & Ex. 004.
2
    03/14 Tr. 186:10-190:7 & Ex. 1525; 03/15 Tr. 26:1-8.
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Burlakoff sent an email to Mike Babich, in which he recommended Rich Simon for

promotion:

        As you know, Insys sales are flourishing. ….

        Rich Simon is an instrumental part of my future plans for the Insys sales
        force. We are constantly strategizing together on how to proceed forward. I
        need a layer in between VP of sales and the sales force. Rich Simon as a field
        based director of sales is exactly what I need.

Ex. 240.

        Simon was promoted from District Manager to National Sales Director in June

2013. 02/21 Tr. 168:4-10; 03/11 Tr. 54:3-6. Immediately following his promotion,

Simon directly supervised three regional sales directors (two of whom are Sunrise Lee

and Joe Rowan) and nine sales districts. Ex. 2339; 03/07 Tr. 226:16-20. In the year that

followed his promotion, as the conspiracy profited and the sales force grew, Simon

would come to manage three regional sales directors, including Rowan and Lee, and 25

different sales districts nationwide. Ex. 2208.

B. Simon and Bribes

        Evidence demonstrates that Rich Simon was not just comfortable leading the

bribery and fraud scheme, he was in fact incredibly aggressive in carrying it out.3

Whether serving as a manager, or as a corporate executive, Rich Simon became one of




3
  Despite his conviction on May 2, 2019, Simon may still be willingly committing fraud. The pre-sentence
report indicates that Simon “and his wife have approximately $2,659,610 in assets, including: $787,390 in
bank accounts; $435,170 worth of securities; two motor vehicles with a total fair market value of $106,600;
their residence, which has a total assessed value of $1,329,900; art work valued at $250; and $300 cash on
hand.” Simon PSR at ¶ 20. Nevertheless,
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the most vocal leaders of the conspiracy, who actively fostered, and thereafter enforced,

explicit agreements with co-conspirator doctors.

1. Simon and Dr. Mahmood Ahmad

         When Simon started at Insys, working as a sales manager for the Central Sales

District, his territory included a high decile prescriber named Dr. Mahmood Ahmad.

03/11 Tr. 117:9-14. Ahmad owned and managed a pain management clinic near Little

Rock, Arkansas. 03/13 Tr. 215: 19-20. Ahmad also owned and operated a pharmacy,

which was located in the same building as his pain management clinic. 03/13 Tr. 244:

18-19.

         In or about September 2012, the sales representative assigned to Arkansas sent a

weekly territory update to Simon, Babich, and Burlakoff, in which he mentioned Ahmad:

         9/7 – Spoke to staff and they informed me Dr. Ahmad would like to be
         taken off my call list. They would not give reason and I have been unable
         to reach Dr. Ahmad or his office manager for at least a month. The
         pharmacy which is located in the same stand alone building was shut
         down due to the high percentage of opioids being dispensed. It has
         recently been opened but is unable to stock opioids. I spoke to … [a
         former sales manager] and we are both under the opinion that they may be
         under investigation. I will follow up in 3-4 weeks to let things settle
         down.

Ex. 004 (INS5288808-09).

         While Simon was newly hired when he learned that Ahmad might be under

investigation, the revelation did not inhibit him in any way. To the contrary, Simon

immediately traveled to Arkansas and took Ahmad to dinner, during which he attempted

to bribe the doctor using both the Insys Speaker program and the possibility of finding a

wholesaler to provide access to schedule II narcotics. On October 3, 2012 Simon sent an

email to an email to Babich, Burlakoff, Gurry and others, reporting on his dinner with
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Ahmad and seeking a way to ensure that the doctor’s pharmacy receive schedule II

narcotics:

          Dr. Ahmad (D-7) largest prescriber in the state of Arkansas and registered
          speaker, after last nights dinner has given a commitment to be a major supporter
          of … [his Insys Sales rep] and Subsys.
          His challenge is getting Subsys to his pharmacy as McKesson and Cardinal won't
          ship to his pharmacy as he writes so many schedule 2's.
                  …
          Solutions:
          I.Ship Subsys direct to his pharmacy (most preferred option)
          2. Find alternative wholesaler to provide Subsys.

Ex. 009.


          A follow up email from the sales rep, sent to Babich, Simon, and Burlakoff

leaves no doubt as to what Simon meant when he informed Babich and others that

Ahmad had “given a commitment to be a major supporter of Subsys.” On or about

October 8, 2012, the sales representative assigned to Ahmad sent Mike Babich another

update:

          10/5-RSM Rich Simon and I took … Ahmad and his office
          manager to dinner and turned things around 180 degrees. We set
          out a plan to conduct dinner programs for Dr. Ahmad to speak at
          his request. Dr. Ahmad was not able to receive schedule two drugs
          in his buildings [sic] pharmacy which prevented his writing our
          drug. Rich Simon and I have been speaking to [the] pharmacist, …
          [the Company Director of Trade and Distribution] & Dr. Ahmad
          to resolve the issue but have a guarantee from Dr. Ahmad to have
          “more scripts than we can handle” once the pharmacy issue is
          resolved and begins to speak.”

Ex. 004 (INS5288809).

2. Simon and Quid Pro Quo Agreements

          For Simon, gaining a “commitment” from Ahmad in exchange for resolution of

the “pharmacy issue” and speaker programs, was not an accident; nor was the fact that

Simon and his sales rep informed company leadership of the agreement. Simon expected
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his sales reps to reach specific and enforceable agreements with doctors signed up as

speakers. He also encouraged his reps to unabashedly notify him regarding the specifics

of those agreements. In April 2013, Simon sent an email to a server list of sales reps. In

it, Simon’s instructions to his subordinates about reaching a quid pro quo agreement with

doctors were unequivocal:

       THIS IS TASK NUMBER ONE

       1. I WANT EXAMPLES ON OUR NEXT CALL OF THE PLAN YOU HAVE
       CREATED WITH YOUR TOP CUSTOMERS TO GET A SPECIFIC NUMBER
       OF SCRIPTS PER WEEK THAT IS MUTUALLY AGREED TO AND AN
       OUTLINE OF HOW YOU WILL HOLD YOURSELVES AND YOUR
       CUSTOMERS TO THIS PLAN.

Ex. 224 (INS-BOS-08793474-75)(emphasis in original).

3. Simon and Dr. Judson Somerville

       In November 2012, in an email entitled “$$$$$,” Simon instructed all of the sales

reps in his district that by increasing the dose prescribed, and by increasing the number of

units prescribed, e.g. the number of times per day that the drug could be taken, there was

“serious money to be made.” Ex. 1500. In the email, Simon went further, attaching a

spreadsheet that calculated “payout” for the sales rep when a prescription was written for

“120 units, under each strength.” Ex. 1501.

       In late 2012, Dr. Judson Somerville, a pain specialist licensed to practice

medicine in Texas, was recruited by Simon as a speaker. 03/14 Tr. 166:1-6.; 171:13-

174:7 & Ex. 1503. Over the course of 2013 Simon authorized using payment for more

than 50 speaker programs as bribes paid in exchange for Subsys prescriptions. 03/15

Tr.29:22-24. Somerville quickly became one of the highest prescribers of Subsys in the

United States. Ex. 219.
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       In April 2013, however, after growing frustrated with the number of units

prescribed by Somerville, Simon emailed the assigned sales rep, revealing the lengths to

which he was willing to go in order to profit from the bribery scheme:

       Please cut and paste Dr. Somerville’s scripts on this report and use them to
       show that 3 out of 4 scripts he wrote were refills and were still LOW units.
       Drill into … [his office manager’s] head that every refill has to be 180-240
       etc. and that Dr. Somerville agreed to do this.”

Ex. 1513. The email provides a glaring example of the arrogance and depravity

underlying the conspiracy in this case.


C. Simon and the IRC

       Simon’s leadership role in the conspiracy demonstrates the symbiotic relationship

between bribes paid for prescriptions, IRC fraud, and profits produced by the crime.

Simon, like most of the defendants indicted in this case, participated in the 8:30

call. 03/05 120:17-19. During the call, Simon and his co-conspirators were briefed

about the corrupt strategies used by the IRC to defraud insurers. 02/14 Trial Tr. 74:20-

75:2; 86:2-3, 87:16-25-88: 1-2, 91:17-18. As a senior leader, Simon was also kept

informed by email of significant matters involving the IRC. Ex. 419.

       But Simon’s role with regard to the IRC was not limited to passive listening. As a

Sales Manager and as National Director of Sales, Simon was required to deal with the

prior authorization process on a daily basis. 03/05 Trial Tr. 122:4-8. If bribed doctors

wrote prescriptions, but insurance companies refused to pay, no one made money. 03/05

Trial Tr. 121:22-122:8. In fact, the success of the prior authorization process was so

important to Simon that he ordered the creation of something called the “Charts in

Progress (“CIP”) Report. 02/25 Tr. 43:3-4. The CIP Report, which was circulated first

on a weekly, then on a biweekly basis, informed sales managers of whether the IRC had
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appealed an insurer’s denial of authorization, and if the IRC was waiting on additional

information, such as letters of medical necessity, signatures, diagnoses, or other data

necessary for the IRC to gain approval. 02/25 Tr. 43:2-45:1. As such, the term “Charts

in Progress,” was a misnomer. Simon and his co-conspirators were not tracking the

progress of patient medical “charts.” They were tracking the progress of obtaining

payment from insurers. In that way, they were tracking the success of their bribes.

III. The Impact of Simon’s Crimes

       Rich Simon embraced the use of bribes to generate profits, commanding from his

subordinates the same outrageous quid pro agreements that he personally arranged. The

audacity of the defendant’s conduct speaks to the seriousness of the offense for which he

was convicted. The court is not left to speculate about the impact of his efforts. At trial,

the court heard directly from patients of both Mahmood Ahmad and Judson Somerville.

03/20 Tr. 158:1-2, 165:23-166:17; 03/21 Tr. 192: 1-25; 03/28 Tr. 193:24-25. While the

court limited such evidence, the testimony of these patients reveals the enduring impact

of Rich Simon’s criminal conduct.

IV. Conclusion

       For all of these reasons, the government respectfully requests that the defendant be

sentenced    to    a   term     of   incarceration    of    ten    years   (120     months).

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

Dated: December 18, 2019              by:     /s/ K. Nathaniel Yeager
                                              K. NATHANIEL YEAGER (BBO 630992)
                                              DAVID G. LAZARUS (BBO 624907)
                                              FRED WYSHAK, JR. (BBO 535940)
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                                   Certificate of Service

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(NEF).

                                               /s/ K. Nathaniel Yeager
Dated: December 18, 2019                       Assistant U.S. Attorney
